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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  CERTAIN UNDERWRITERS AT LLOYD’S,
  LONDON, SYNDICATES 2623/623

           Plaintiff,

  v.                                                         Case No. 0:18-CV-60839-CMA

  SOLUTIONS RECOVERY CENTER, LLC,
  DANIEL J. CALLAHAN,
  SEAN CALLAHAN, and
  RICHARD GLASER,

        Defendants,
  ___________________________________________/

   DEFENDANT/COUNTERCLAIM PLAINTIFFS’ STATEMENT OF UNDISPUTED
  MATERIAL FACTS IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT

           Pursuant to Local Rule 56.1, Defendants/Counterclaim-Plaintiffs, SOLUTIONS

  RECOVERY CENTER, LLC (“Solutions”), DANIEL J. CALLAHAN, SEAN CALLAHAN,

  and RICHARD GLASER (collectively the “Solutions Parties”) submit the following Statement

  of Facts in support of their Motion for Summary Judgment on the claims asserted by and against

  Plaintiff/Counterclaim-Defendant, CERTAIN UNDERWRITERS AT LLOYD’S, LONDON,

  SYNDICATES 2623/623 (“Underwriters”).

           1.      Underwriters sold insurance policy No. W15F3F170401 (the “Policy”) to

  Solutions on June 15, 2017. A true and correct copy of the Policy is attached to Underwriters’

  Amended Complaint as Exhibit B (Doc. 5-2). (Doc. 5, Am. Compl., ¶ 47; Doc. 33, Am. Answer,

  ¶ 47.)

           2.      On December 31, 2017, Kipu Systems LLC (“Kipu”) filed an action (the “Kipu

  Action”) in the Southern District of Florida styled, Kipu Systems, LLC v. ZenCharts LLC, et. al,

  Case No. 1:17-cv-24733-KMW-EGT. Solutions Recovery Center, LLC as well as Daniel J.
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  Callahan, Sean Callahan, and Richard Glaser were among the named defendants. A true and

  correct copy of the Complaint in the Kipu Action (the “Kipu Complaint”) is attached to

  Underwriters’ Amended Complaint as Exhibit “A”.1 (Am. Compl., ¶ 27; Am. Answer, ¶ 27.)

         3.      The Solutions Parties timely tendered the Kipu Action to Underwriters and

  requested a defense under the Policy. (See Am. Compl., ¶ 41; Am. Answer, ¶ 41.)

         4.      The Solutions Parties have fulfilled all conditions precedent to coverage under the

  Policy by cooperating with Underwriters and or submitting to the jurisdiction of this Court upon

  Underwriter’s filing of their Amended Complaint. (See Doc. 5-2, Am. Compl., Exhibit B, at 47–

  51;2 Am. Compl., ¶ 4–7; Am. Answer, ¶ 4–7.)

         5.      Underwriters denied coverage. A true and correct copy of Underwriters’ letter

  denying coverage is attached to the Solutions Parties’ Amended Counterclaim as Exhibit 1 (See

  Doc. 33-1, Denial Letter from Rory Jurman to Nicholas Novack dated April 16, 2013.)

         6.      On October 10, 2018, Kipu filed an Amended Complaint in the Kipu Action (the

  “Kipu Amended Complaint”).3 A true and correct copy of the Kipu Amended Complaint is

  attached to this Statement of Undisputed Material Facts as Exhibit 3.4


         1
          Hereinafter, Solutions Recovery will cite to Exhibit A to the Second Amended
  Complaint using the citation format “Kipu Compl., ¶ __.”
         2
           The Policy consists of a standard insuring agreement as well as a declarations page and
  several endorsements. The pagination of these documents is not continuous. To avoid confusion,
  Solutions Recovery will hereinafter cite to the Policy using the citation format “Policy at __” and
  provide a pincite to the PDF page assigned to docket entry 5-2.
         3
           For the most part, the allegations of the Kipu Complaint and the Kipu Amended
  Complaint are the same, except that the Kipu Amended Complaint adds some allegations that
  strengthen the Solutions Parties arguments. Because both the Kipu Complaint and the Kipu
  Amended Complaint are potentially relevant, the Solutions Parties’ brief will provide pincites to
  both pleadings. Hereinafter, the Solutions Parties will cite to Exhibit 3 to this Statement of
  Undisputed Material Fact using the citation format “Kipu Am. Compl., ¶ __.” Unless otherwise
  noted, all references to the “Kipu Amended Complaint” in this Statement of Facts and the
  Solution’s Parties accompanying Motion for Summary Judgment also refer to the Kipu
  Complaint.
                                                  2
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         Dated: November 8, 2018.


                                              Respectfully submitted,

                                              BALCH & BINGHAM LLP

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                                               Attorneys for Solutions Recovery Center, LLC,
                                               Daniel J. Callahan, Sean Callahan, and
                                               Richard Glaser




         4
           The Solutions Parties previously attached Exhibits 1-2 to their Answer and Amended
  Counterclaim (Doc. 33). In an attempt to avoid confusion, the Solutions Parties have elected to
  adopt a continuous number system for all exhibits they will file with this Court. Accordingly, the
  Kipu Amended Complaint has been designated as Exhibit 3.
                                                  3
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Response to

  Plaintiff’s Motion to Dismiss Amended Counterclaim was filed via the CM/ECF System, and

  served electronically or via U.S. Mail on this 8th day of November, 2018, on all counsel or

  parties listed below:

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                                                     /s/ Geremy W. Gregory
                                                     GEREMY W. GREGORY
